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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA : CRIMINAL NO.
UNDER SEAL
v.
: VIOLATION: 18 U.S.C. § 1001(a)(3)
DANIELA GREENE, : (False Statements involving International
Defendant. : Terrorism)

INFORMATION
The United States Attorney charges that:

COUNT ONE

On or about June 11, 2014, in the District of Columbia and elsewhere, Daniela Greene
did willfully and knowingly make and usc a false writing and document, knowing the same to
contain a materially false, fictitious, and fraudulent statement and entry, in a matter within the
jurisdiction of the executive of the Government of the United States, that is, the Federal Bureau
of Investigation (FBI), by false stating in an FBI form FD-772, seeking authorization to travel to
a foreign country, that she was going to travel to Germany to visit family when in truth and in
fact she was traveling to, and did travel to, Syria, well knowing and believing that the
representations in the form FD-772 were false. The foregoing false statements in the FBI form

FD-772 involved international terrorism.

(False Statements involving International Terrorism, in violation of Title 18, United
States Code, Section 1001(a)(3))
Respectfully submitted,

RONALD C, MACHEN JR.
United States Attorney
D.C. Bar No. 447889

BY: SIME.
THOMAS A. GILLICE

Assistant United States Attorney
D.C. Bar No. 452336
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